AO 136 (Rev. 10/13) Certificate of Good Standing




                                    UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District of Florida


                                          CERTIFICATE OF GOOD STANDING




                                                       Clerk of the United States District Court
              I,      Angela E. Noble,                 for the Southern District of Florida,


do hereby certify that Andrew Robert Spector, Florida Bar # 634093, was duly admitted to

practice in this Court on May 21, 1992, and is in good standing as a member of the Bar of this

Court.

             Dated at: Miami, Florida on May 14, 2021.




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